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AO 91 (rev.ll/ll)     Criminal Complaint                                       AUTHORIZED        AND APPROVED   DATE:




                                                            United States District Court
                                                                                for the

_____                         W..:....:....=E=ST-=E=RN:...=....:...      .DISTRICT          OF                   O;:;_:KL=A'-=H=O..;:::_;:_;_;MA=-=--   _



            United States of America

                         v.                                                                           Case No: M-21-    582-STE
            Busayo Opeyemi Adeosun



                                                                      CRIMINAL COMPLAINT

            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

            On or about March 20, 2020, within the Western District of Oklahoma and elsewhere, the defendant, Busayo Adeosun,

violated

                                                                               Count 1


                         Code Section                                                Offense Description

                         18 U.S.C. § 1543                                            Passport Fraud


            This criminal complaint is based on these facts:

            See attached Affidavit of Special Agent Andrew Harris, Federal Bureau of Investigation, which is incorporated and made a
            part hereof by reference.

            o       Continued on the attached sheet.




                                                                                                              ANDREW HARRIS
                                                                                                              Special Agent
                                                                                                              Federal Bureau of Investigation

Sworn to before me and signed in my presence.

Date:      Oct 6, 2021
                   _
                                                                                                                              Judge's signature

City and State: Oklahoma City, Oklahoma                                                                    SHON T. ERWIN, U.S. Magistrate Judge
                                                                                                                     Printed name and title
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                                                   AFFIDAVIT

      I, Andrew B. Harris, being duly sworn, does depose and state the following:

                            AGENT BACKGROUND AND INTRODUCTION

            I.        ] am a Special Agent with the Federal Bureau ofInvestigation         (FBI), and have

been employed by the FBI since 2014. In my capacity as an FBI Special Agent, ] have personally

investigated or assisted in investigating        criminal matters involving computer intrusion, fraud,

money laundering, and related offenses. Based on my training and experience                as an FBI Special

Agent, I am familiar with the means and methods that criminals use to defraud victims. I have

also become knowledgeable          about the criminal statutes of the United States, particularly the

statutes relating to computer intrusion (18 U.S.C. §1030), conspiracy            (18 U.S.C. §371), wire

fraud (18 U.S.C. § 1343), money laundering (18 U.S.C. §§ 1956 and 1957), mail fraud (18

u.s.c. § 1341),        bank fraud (18 U.S.C. § 1344) and passport fraud (18 U.S.C. § 1543). I am

authorized to obtain and execute federal arrest, search and seizure warrants.

                                               PROBABLE CAUSE

            2.     The statements contained in this Affidavit are based in part on information provided

by other agencies, written reports about this and other investigations          that I have received, directly

or indirectly, from other law enforcement           agents; independent   investigation;   and my experience,

training,        and background   as a Special Agent with the FBI. Because            this Affidavit   is being

submitted for the limited purpose of establishing probable cause to believe that Busayo Adeosun,

hereinafter       referred to as Busayo,     committed the below-described     offense, I have not included

every detail of the investigation.         In addition, unless otherwise indicated, all statements contained

in this Affidavit are summaries       in substance and in part.

            The following is true to the best of my knowledge and belief:
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        3.     As will be shown below, there is probable cause to believe that Busayo committed

Passport Fraud, a violation of Title 18, United States Code, Section 1543, which occurred within

the Western District of Oklahoma.

        4.     VENUE: The facts and circumstances       alleged in this affidavit occurred in Oklahoma

City, Oklahoma and Edmond, Oklahoma, within the Western District of Oklahoma.

        5.     OFFENSE: On or about March 20, 2020, Busayo, committed the offense of passport

fraud, a violation of Title 18, United States Code, Sections 18 U.S.C. § 1543.

        6.     BACKGROUND:        On May 14,2020, Abdul Waris Akinsanya,         was arrested by Tulsa

Police Department (TPD). Akinsanya entered City National Bank at 207 S. Memorial Dr. and

indicated his name was Lake Hunter. Akinsanya inquired about the Hunter account with the

teller. The teller of the bank noticed that the account was negative $19,000 and stalled until the

police arrived.

        7.        According to the TPD report, officers arrived on scene and interviewed

Akinsanya. Akinsanya admitted his real name was Akinsanya. Numerous passports and Driver's

Licenses were in Akinsanya's     possession, all containing Akinsanya's    picture. Akinsanya

possessed a United Kingdom passport purportedly        issued in the name of Mike Kelvin Cobbs

with a date of birth November    6, 1992, with a picture of Akinsanya wearing a grey sport coat and

pink shirt. Akinsanya possessed a United Kingdom passport purportedly         issued in the name of

Gavin Colin Apex with a date of birth of May 12, 1990, with a picture of Akinsanya wearing a

dark suit and tie. Various additional identification   documents were seized from Akinsanya      in the

names of Lake Dean Hunter, John Timothy Baxter, Gavin Colin Apex, Mike Kelvin Cobbs.

        8.        Utility documents in the names of Baxter, Apex, and Cobbs, were located and

seized by TPD. An Oklahoma Department of Wildlife Conservation            fishing license in the name

of Lake Dean Hunter was also located and seized by TPD. Credit cards in the names of Oliver



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Jack, Randy Fornari, Mike Wilz Smith and Billy M Woods were also located and seized. A bank

statement from Bank of America in the name of Apex was located and seized. Additionally,           a JP

Morgan Chase bank statement in the name of Cobbs was located and seized by TPD.

        9.      Akinsanya was subsequently     interviewed by TPD and admitted to working with

an individual in Houston, Texas, by the name of Busayo. Akinsanya        stated that he sent his

picture and $350 dollars to Busayo and received fake passports and identification        documents in

order to fraudulently   open bank accounts. Once Akinsanya received money into the accounts, he

withdrew the funds and sent them back to Busayo. Akinsanya stated that he was waiting for a

$19,000 wire transfer into his account. Once he received the wire, he was going to keep 10% of

the money and withdraw the rest and mail it to Busayo. Akinsanya stated that he was involved in

the fraud because he was trying to pay his college tuition. Akinsanya stated there were a few

different individuals involved in the same fraud.

        10.     Review of Akinsanya's    iPhone which was seized at the time of his arrest

indicated that he had numerous conversations     regarding fraud with Busayo through WhatsApp.

Akinsanya's   phone contains contact information for a contact listed as "Busayo Houston" with a

phone number and WhatsApp account number ending in 5567. Open source records searches

indicate that the number ending in 5567 is assigned to Busayo Opeyemi Adeosun with a birth

year of 1985. On or about March 13,2020, Busayo sent Akinsanya a WhatsApp message

identifying himself as "Adeosun Busayo" and provided Akinsanya with a bank account number

for an account at United Bank for Africa.

        11.     On or about March 20, 2020, Busayo messaged Akinsanya and asked him, "How

many oju you wan do." Based upon my training and experience,        I know that the word "oju" is

Yoruba and is translated as "face". This is likely translated to mean "identification"    or

"passport." Akinsanya reponded to Busayo that he wanted, "8" and Busayo asked what Country



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he wanted. Akinsanya stated, "I want that UK bro." Busayo asked Akinsanya to send his info.

Akinsanya sent a list of eight names to include Baxter John Timothy, Conley James Thomas,

Dietz Jared Francis, Moore Dean Stephan, Combs Mike Brady, George Finn George, Apex

Gavin Colin, and Cobbs Mike Kelvin. Busayo asked Akinsanya for a date of birth and a date to

stamp on it for entry access. Akinsanya provided date of birth of October 10, 1990, a photo of

himself and entry access of2018   for Busayo. Akinsanya provided the name of Billy Woods and

addresses in Oklahoma City and Edmond, Oklahoma for the pickup. Busayo subsequently         sent

Akinsanya a photo of what appeared to be one of the fake passports and a photo of fake United

Kingdom Driver's License for John Timothy Baxter. The Driver's License contained

Akinsanya's   photo on it.

        12.     I obtained records from Bank of America showing that on or about May 13, 2020,

a checking account was opened at Bank of America in the name of Gavin Apex. Statements

associated with the signature card indicated Apex maintained address of 500 N Blackwelder    Ave

Apt 54. Open source search of aforementioned    apartment indicated that Akinsanya was a

resident of the apartment at the time of the account opening.




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                                       CONCLUSION

       13. Based on a review of this case, and based on my knowledge and experience, J, as your

Affiant have probable   cause to believe that Busayo Adeosun committed          the offense Passport

Fraud, a violation of Title 18, United States Code, Sections      1543, in the Western District of

Oklahoma.

                                                   Respectfully    Submitted,

                                                   :Z;Z~2=
                                                   Andrew B. Harris
                                                   Special Agent, FBI


       Sworn before me this _    day of October 2021.




                                                   SHON T. ERWIN
                                                   UNITED STATES MAGISTRATE JUDGE
                                                   WESTERN DISTRICT OF OKLAHOMA




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